                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

PETRO STAR INC.,
          Plaintiff,
                                                  Case Number 3:11-cv-00064-RRB
v.

BP OIL SUPPLY CO., et al.,
          Defendants.                             JUDGMENT IN A CIVIL CASE


     JURY VERDICT. This action came before the court for a trial by
jury. The issues have been tried and the jury has rendered its
verdict.


 X   DECISION BY COURT. This action came before the court. The
issues have been duly considered and a decision has been rendered.

           IT IS ORDERED AND ADJUDGED:

        THAT the plaintiff recover nothing, the action be dismissed
on the merits, and the defendant BP Products North America, Inc.,
successor-in-interest to BP Oil Supply Company recover costs in the
amount of $________________ from the plaintiff Petro Star Inc..




APPROVED:

  /s/Ralph R. Beistline
 RALPH R. BEISTLINE
 United States District Judge
 Date: December 10, 2012
 NOTE: Award of prejudgment interest, costs and        Marvel Hansbraugh
 attorney's fees are governed by D.Ak. LR 54.1,
 54.3, and 58.1.                                       Marvel Hansbraugh,
                                                         Clerk of Court



[311cv64RRB-judgment.wpd]{JMT2.WPT*Rev.3/03}




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